                    Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 1 of 43


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Sunglo Home Health Services, Inc.

2.   All other names debtor used       dba Sunglo Adult Day Care VIII; dba Sunglo Adult Day Care II; dba Brighten Academy
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           7      4      –      2      6        0    4         6   0     0

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       3201 S. Expressway 83
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Harlingen                           TX       78550
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Cameron                                                         from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            www.sunglohhs.com

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor Sunglo Home Health Services, Inc.                                                  Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes

                                            6      2       1      6

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY

                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor Sunglo Home Health Services, Inc.                                                 Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
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Debtor Sunglo Home Health Services, Inc.                                                 Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 02/14/2019
                                                      MM / DD / YYYY

                                          X /s/ Linda Salazar                                       Linda Salazar
                                              Signature of authorized representative of debtor      Printed name

                                          Title Vice President

18. Signature of attorney                X /s/ Jana Smith Whitworth                                               Date     02/14/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Jana Smith Whitworth
                                            Printed name
                                            JS Whitworth Law Firm, PLLC
                                            Firm name
                                            112 E. Kiwi Street
                                            Number          Street



                                            McAllen                                                    TX                   78504
                                            City                                                       State                ZIP Code


                                            (956) 371-1933                                             jana@jswhitworthlaw.com
                                            Contact phone                                              Email address
                                            00797453                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case
 Debtor name          Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    IBC BizRite Checking account                                  Checking account                    7   0   5     3                   $40,817.95
3.2.    Lone Star National Bank
        Business Checking Account XXX2303                             Checking account                    2   3   0     3                   $24,310.17

3.3.    Lone Star National Bank
        Business Checking Account XXXX2159                            Checking account                    2   1   5     9                    $6,665.75

3.4.    IBC Commercial
        Savings Account XXX3357                                       Savings account                     3   3   5     7                   $32,500.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                        $104,293.87




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor       Sunglo Home Health Services, Inc.                                            Case number (if known)
             Name


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

9.   Total of Part 2.
     Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:           $91,858.95             –                 $0.00                  = .......................             $91,858.95
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:              $22,833.66             –                 $0.00                  = .......................             $22,833.66
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                        $114,692.61
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                           Valuation method                     Current value of
                                                                                           used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Sunglo Home Health Services, Inc.                                         Case number (if known)
             Name


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the       Net book value of    Valuation method          Current value of
                                                 last physical     debtor's interest    used for current value    debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                  $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method          Current value of
                                                                   debtor's interest    used for current value    debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                  $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Sunglo Home Health Services, Inc.                                           Case number (if known)
             Name

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method         Current value of
                                                                    debtor's interest     used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     Office Furniture for Headquarters (Harlingen
     Office)                                                                 $5,000.00    Estimated Value                     $5,000.00
     Office Furniture for San Benito Location:                               $2,000.00    Estimated Value                     $2,000.00
     Office Furniture for Rio Grande City Office:                            $1,000.00    Estimated Value                     $1,000.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Office Equipment for Headquarters (Harlingen
     Office):                                                                $5,000.00    Estimated Value                     $5,000.00
     Office Equipment for San Benito Office:                                   $500.00    Estimated Value                       $500.00
     Office Equipment for Rio Grande City Office:                            $1,500.00    Estimated Value                     $1,500.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                             $15,000.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                      page 4
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Debtor       Sunglo Home Health Services, Inc.                                         Case number (if known)
             Name

     General description                                          Net book value of     Valuation method         Current value of
     Include year, make, model, and identification numbers        debtor's interest     used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2016 Toyota Corolla VIN#77831                                      $13,100.00     NADA                               $13,100.00
47.2. 2016 Toyota Corolla VIN#83376                                      $13,100.00     NADA                               $13,100.00

47.3. 2016 Toyota Corolla VINC#67777                                     $13,100.00     NADA                               $13,100.00

47.4. 2016 Toyota Corolla VIN#68549                                      $13,100.00     NADA                               $13,100.00
47.5. 2016 Toyota Corolla VIN#471841                                     $13,100.00     NADA                               $13,100.00

47.6. 2015 Toyota Corolla VIN#1840                                       $11,250.00     NADA                               $11,250.00

47.7. 2015 Toyota Corolla VIN#3366                                       $11,250.00     NADA                               $11,250.00
47.8. 2015 Toyota Corolla VIN#11840                                      $11,250.00     NADA                               $11,250.00
47.9. 2015 Ford Transit Van VIN#26238                                    $16,500.00     NADA                               $16,500.00

47.10. 2015 Chevrolet Express Van VIN#225892                             $15,400.00     NADA                               $15,400.00

47.11. 2014 Chevrolet Express Van VIN#94079                              $14,750.00     NADA                               $14,750.00
47.12. 2013 Hyundai Elantra VIN#373261                                     $8,000.00    NADA                                $8,000.00
47.13. 2014 Hyundai Elantra VIN#372756                                     $8,600.00    NADA                                $8,600.00
47.14. 2014 Hyundai Elantra VIN#372772                                     $8,600.00    NADA                                $8,600.00

47.15. 2014 Hyundai Elantra VIN#221673                                     $8,600.00    NADA                                $8,600.00

47.16. 2006 Honda Civic VIN#12262                                          $3,116.00    NADA                                $3,116.00
47.17. 2006 Honda Ridgeline VIN#39547                                      $5,546.00    NADA                                $5,546.00
47.18. 2006 Doge Ram VIN#54290                                           $18,218.00     NADA                               $18,218.00
47.19. 2007 Ford Focus VIN#47059                                           $2,983.00    NADA                                $2,983.00

47.20. 2007 Chevrolet Cobalt VIN#86388                                     $2,900.00    NADA                                $2,900.00

47.21. 2007 Chevrolet Cobalt VIN#76751                                     $2,900.00    NADA                                $2,900.00
47.22. 2013 Chevrolet Express Van VIN#26485                              $14,250.00     NADA                               $14,250.00
47.23. 2016 Toyota Corolla VINxxx0359                                                                                      $13,100.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                         $242,713.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                      page 5
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Debtor       Sunglo Home Health Services, Inc.                                           Case number (if known)
             Name


 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

      Sunglo Home Health Services, Inc.'s
      Home and Community Support Services Agancy
      License (Harlingen, Texas): License Number
      002231                                                                                                                         Unknown
      Sunglo Home Health Services, Inc.'s Home and
      Community Support Services Agency License
      (Rio Grande City, Texas): License Number
      002643                                                                                                                         Unknown
      Sunglo Home Health Services d/b/a Sunglo Adult
      Day Care II's DAHS Facility License (San Benito)
      issued by Texas Health and Human Services
      Commission: License Number 149771                                                                                              Unknown
63. Customer lists, mailing lists, or other compilations




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Sunglo Home Health Services, Inc.                                           Case number (if known)
             Name

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                   $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                   Current value of
                                                                                                                   debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                   $0.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                     page 7
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Debtor           Sunglo Home Health Services, Inc.                                                                   Case number (if known)
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                          $104,293.87
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                             $114,692.61

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $15,000.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $242,713.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $476,699.48           +     91b.                  $0.00


                                                                                                                                                                   $476,699.48
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 8
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 Fill in this information to identify the case:
 Debtor name          Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Ally Bank                                        subject to a lien                                     $15,016.42              $14,750.00

          Creditor's mailing address                       2014 Chevrolet Express Van VIN#
          c/o Ally Servicing LLC                           94079
          P.O. Box 130424                                  Describe the lien
                                                           Promissory Note / Agreement
          Roseville                  MN    55113-0004      Is the creditor an insider or related party?
                                                                No
          Creditor's email address, if known
                                                                Yes

          Date debt was incurred       09/2015             Is anyone else liable on this claim?
                                                               No
          Last 4 digits of account
          number                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                       7    6    1    3
          Do multiple creditors have an interest in        As of the petition filing date, the claim is:
          the same property?                               Check all that apply.
              No                                               Contingent
              Yes. Specify each creditor, including this       Unliquidated
              creditor, and its relative priority.             Disputed




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $863,235.53


Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Ally Bank                                           subject to a lien                                       $8,041.04               $8,000.00

         Creditor's mailing address                          2013 Hyundai Elantra VIN#373261
         c/o Ally Servicing LLC                              Describe the lien
         P.O. Box 130424                                     Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Roseville                  MN     55113-0004             No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       03/2018                    No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        9    9    9     8     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Ally Bank                                           subject to a lien                                       $8,041.04               $8,600.00

         Creditor's mailing address                          2014 Hyundai Elantra VIN#372756
         c/o Ally Servicing LLC                              Describe the lien
         P.O. Box 130424                                     Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Roseville                  MN     55113-0004             No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       03/2017                    No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        8    8    4     9     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Ally Bank                                           subject to a lien                                       $8,030.91               $8,600.00

         Creditor's mailing address                          2014 Hyundai Elantra VIN#372772
         c/o Ally Servicing LLC                              Describe the lien
         P.O. Box 130424                                     Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Roseville                  MN     55113-0004             No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       02/2017                    No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        8    0    5     8     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.5     Creditor's name                                     Describe debtor's property that is
         Ally Bank                                           subject to a lien                                       $8,393.21               $8,600.00

         Creditor's mailing address                          2014 Hyundai Elantra VIN#221673
         c/o Ally Servicing LLC                              Describe the lien
         P.O. Box 130424                                     Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Roseville                  MN     55113-0004             No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred       02/2017                    No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                        6    8    1     2     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         BBVA Compass Bank                                   subject to a lien                                     $12,818.92              $16,500.00

         Creditor's mailing address                          2015 Ford Transit Van VIN#26238
         P.O. Box10566                                       Describe the lien
                                                             Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Birmingham                 AL       35296                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          02/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          3    9      1   5   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.7     Creditor's name                                     Describe debtor's property that is
         Ford Motor Credit Company, LLC                      subject to a lien                                     $13,962.71              $15,400.00

         Creditor's mailing address                          2015 Chevrolet Express Van VIN#
         P.O. Box 62180                                      225892
                                                             Describe the lien
                                                             Promissory Note / Agreement

         Colorado Springs           CO       80962           Is the creditor an insider or related party?
                                                                  No
         Creditor's email address, if known
                                                                  Yes

         Date debt was incurred          04/2015             Is anyone else liable on this claim?
                                                                 No
         Last 4 digits of account
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
                                         4    9      5   9
         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.8     Creditor's name                                     Describe debtor's property that is
         Harlingen Tax Office                                subject to a lien                                     $11,816.49                    $0.00

         Creditor's mailing address                          Pesonal Property
         P.O. Box 2643                                       Describe the lien
                                                             Ad Valorem Taxes / Statutory Lien
                                                             Is the creditor an insider or related party?
         Harlingen                  TX     78551                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          01/2019                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.9     Creditor's name                                     Describe debtor's property that is
         Internal Revenue Service                            subject to a lien                                    $687,000.00                    $0.00

         Creditor's mailing address
         300 E. 8th Street - M/S 5026 AUS                    Describe the lien
                                                             941 Taxes
                                                             Is the creditor an insider or related party?
         Austin                     TX     78701                  No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          2016                    No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.10    Creditor's name                                     Describe debtor's property that is
         Tony Yzaguirre, Jr.                                 subject to a lien                                       $2,630.99                   $0.00

         Creditor's mailing address           Personal Property
         Cameron County Tax Assessor-CollectorDescribe the lien
         835 E. Levee Street                                 Ad Valorem Taxes / Statutory Lien
                                                             Is the creditor an insider or related party?
         Brownsville                TX       78520                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          01/31/2019              No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                                              As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.11    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                       $8,272.03             $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VIN#77831
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          01/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    1      0   7   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.12    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                     $10,641.57              $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VIN#83376
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          02/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    1      7   0   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.13    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                     $10,641.70              $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VINC#67777
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          02/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    1      4   3   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 7
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.14    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                     $10,641.57              $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VIN#68549
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          02/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          7    1      4   1   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.15    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                     $12,715.10              $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VIN#471841
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          04/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          3    7      1   5   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.16    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                     $12,478.76              $13,100.00

         Creditor's mailing address                          2016 Toyota Corolla VINxxx0359
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          04/2016                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          4    2      9   5   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.17    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                       $7,145.37             $11,250.00

         Creditor's mailing address                          2015 Toyota Corolla VIN#1840
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          05/2015                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          2    1      4   4   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 9
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Debtor       Sunglo Home Health Services, Inc.                                               Case number (if known)

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.18    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                       $7,607.46             $11,250.00

         Creditor's mailing address                          2015 Toyota Corolla VIN#3366
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          05/2015                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          0    5      9   6   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.19    Creditor's name                                     Describe debtor's property that is
         Toyota Motor Credit Corporation                     subject to a lien                                       $7,340.24             $11,250.00

         Creditor's mailing address                          2015 Toyota Corolla VIN#11840
         c/o Toyota Financial Services                       Describe the lien
         P.O. Box 5855                                       Promissory Note / Agreement
                                                             Is the creditor an insider or related party?
         Carol Stream               IL       60197                No
                                                                  Yes
         Creditor's email address, if known
                                                             Is anyone else liable on this claim?
         Date debt was incurred          08/2015                 No
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account
         number                          6    1      4   0   As of the petition filing date, the claim is:
         Do multiple creditors have an interest in           Check all that apply.
         the same property?                                      Contingent
             No                                                  Unliquidated
             Yes. Have you already specified the                 Disputed
                  relative priority?
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10
                  Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 23 of 43

Debtor       Sunglo Home Health Services, Inc.                                         Case number (if known)

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.

         Name and address                                                             On which line in Part 1        Last 4 digits of
                                                                                      did you enter the              account number
                                                                                      related creditor?              for this entity

         Internal Revenue Service                                                      Line    2.9
         Centralized Insolvency Operation
         P.O. Box 7346


         Philadelphia                                 PA       19101-7346


         Linebarger Goggan Blair & Sampson, LLP                                        Line   2.10
         Attn: Diane W. Sanders
         P.O. Box 17428


         Austin                                       TX       78760


         Linebarger Goggan Blair & Sampson, LLP                                        Line   2.10
         Attn: Diane W. Sanders
         P.O. Box 17428


         Austin                                       TX       78760


         Linebarger Goggan Blair & Sampson, LLP                                        Line    2.8
         Attn: Diane W. Sanders
         P.O. Box 17428


         Austin                                       TX       78760




Official Form 206D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 11
                   Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 24 of 43


 Fill in this information to identify the case:
 Debtor              Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the            $215,300.00           $215,300.00
                                                                claim is: Check all that apply.
Internal Revenue Service
                                                                    Contingent
300 E. 8th Street - M/S 5026 AUS                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                TX      78701             IRS Healthcare Insurance Tax/Penalty
Date or dates debt was incurred
                                                                Is the claim subject to offset?
2016
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                   Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 25 of 43

Debtor         Sunglo Home Health Services, Inc.                                        Case number (if known)

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $2,579.09
                                                                    Check all that apply.
Ability Network, Inc.                                                   Contingent
P.O. Box 856015                                                         Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Mineapolis                                MN       55485-6015       Services Rendered

Date or dates debt was incurred          12/2018-01/2019            Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $2,878.20
                                                                    Check all that apply.
AllScripts                                                              Contingent
24630 Network Place                                                     Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Chicago                                   IL       60673            Goods Sold

Date or dates debt was incurred          07/2018 - 01/2019          Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                   $10,490.00
                                                                    Check all that apply.
Amerifactors                                                            Contingent
P.O. Box 628328                                                         Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Orlando                                   FL       32862            Services Rendered

Date or dates debt was incurred          08/2018                    Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                   $10,200.00
                                                                    Check all that apply.
Beta Therapy Management Inc.                                            Contingent
1287 Janet Lane                                                         Unliquidated
                                                                        Disputed

                                                                    Basis for the claim:
Brownsville                               TX       78526            Services Rendered

Date or dates debt was incurred          12/2017                    Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
                 Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 26 of 43

Debtor      Sunglo Home Health Services, Inc.                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.5    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $1,095.00
                                                                Check all that apply.
Brandi Whitemeyerr, RN                                              Contingent
421 Hower Street NE                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
North Canton                           OH       44720           Services Rendered

Date or dates debt was incurred      01/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.6    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                $140.73
                                                                Check all that apply.
Brewer Office Systems                                               Contingent
405 West Van BUren                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Harlingen                              TX       78550           Rental Payments for Copiers

Date or dates debt was incurred      12/2018                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.7    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $2,379.61
                                                                Check all that apply.
Capital One, F.S.B.                                                 Contingent
P.O. Box 60599                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
City of Industry                       CA       91716           Services Rendered

Date or dates debt was incurred      02/2018 - 1/2019           Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.8    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
EFB Partners, LLC                                                   Contingent
8200 N.W. 52nd Terrace, Suite 200                                   Unliquidated
                                                                    Disputed
Doral, GL 33166
                                                                Basis for the claim:
                                                                Operating Loan

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
                   Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 27 of 43

Debtor       Sunglo Home Health Services, Inc.                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.9    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:            $106,879.00
                                                                Check all that apply.
Frost Bank                                                          Contingent
P.O. Box 34746                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Antonio                            TX       78265           Promissory Note

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.10    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Knight Capital Funding III LLC - SPV                                Contingent
9 East Loockerman Ste 3A-543                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dover                                  DE       19901           Operating Loan

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.11    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $27,079.00
                                                                Check all that apply.
L.R. Pelly, M.D.                                                    Contingent
34 Robins Lane                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Brownsville                            TX       78521           Services Rendered

Date or dates debt was incurred      01/2018 - 01/2018          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.12    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                $369.56
                                                                Check all that apply.
Liberty DME                                                         Contingent
1708 Mozelle Street                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pharr                                  TX       78577           Services Rendered

Date or dates debt was incurred      08/2018 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor       Sunglo Home Health Services, Inc.                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.13     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $0.00
                                                                Check all that apply.
Lone Star National Bank                                             Contingent
Attn: Loan Servicing                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
McAllen                                TX       78504           Promissory Note

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.14     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $3,000.00
                                                                Check all that apply.
Mario L. Vasquez Aguilar, PLLC                                      Contingent
2768 Pharmacy Road                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rio Grande City                        TX       78582           Services Rendered

Date or dates debt was incurred      07/2017 - 08/2017          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.15     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:            $110,947.07
                                                                Check all that apply.
McKesson Information Solutions                                      Contingent
P.O. Box 98347                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693           Services Rendered

Date or dates debt was incurred      12/2016 - 03/2018          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.16     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $4,650.43
                                                                Check all that apply.
Medline Ind                                                         Contingent
P.O. Box 121080                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dallas                                 TX       75312           Services Rendered

Date or dates debt was incurred      01/2018 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor       Sunglo Home Health Services, Inc.                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.17     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $675.00
                                                                Check all that apply.
Noe Reyes                                                           Contingent
1108 N. 35th Street                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Hidalgo                                TX       78557           Services Rendered

Date or dates debt was incurred      06/2017 - 08/2017          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.18     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $1,618.77
                                                                Check all that apply.
Purchase Power                                                      Contingent
P.O. Box 371874                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Pittsburgh                             PA       15250           Services Rendered

Date or dates debt was incurred      03/2018 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.19     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $451.43
                                                                Check all that apply.
Shred-It San Antonio                                                Contingent
28883 Network Place                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60673           Services Rendered

Date or dates debt was incurred      01/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.20     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $2,130.86
                                                                Check all that apply.
Strategic Healthcare Programs                                       Contingent
P.O. Box 101019                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Atlanta                                GA       30392           Services Rendered

Date or dates debt was incurred      02/2018 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
                 Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 30 of 43

Debtor       Sunglo Home Health Services, Inc.                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.21     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                $163.46
                                                                Check all that apply.
Terminix - Weslaco                                                  Contingent
802 Westway Drive                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Harlingen                              TX       78552           Services Rendered

Date or dates debt was incurred      01/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.22     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $5,263.74
                                                                Check all that apply.
Texas Workforce Commission                                          Contingent
101 E. 15th Street, Room 556                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Austin                                 TX       78778           Taxes

Date or dates debt was incurred      01/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.23     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $4,698.00
                                                                Check all that apply.
The Lamar Companies                                                 Contingent
2001 Industrial Way                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
San Benito                             TX       78586           Services Rendered

Date or dates debt was incurred      12/2018 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.24     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              $5,354.00
                                                                Check all that apply.
Therapy at Home, PLLC                                               Contingent
2418 Buddy Owens Boulevard                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
McAllen                                TX       78504           Services Rendered

Date or dates debt was incurred      04/2017 - 06/2017          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
                 Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 31 of 43

Debtor       Sunglo Home Health Services, Inc.                                      Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

 3.25    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $2,454.95
                                                                Check all that apply.
Time Warner Cable                                                   Contingent
P.O. 60074                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
City of Industry                       CA       91716           Services Rendered

Date or dates debt was incurred      01/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.26    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $67,622.50
                                                                Check all that apply.
Valley Healing Hands, LLC                                           Contingent
3475 W. Alton Gloor, Suite D                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Brownsville                            TX       78520           Services Rendered

Date or dates debt was incurred      06/2017 - 02/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.27    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:             $89,155.00
                                                                Check all that apply.
Veronica's Physical Therapy Services, PL                            Contingent
5346 E. Hwy 83 - Unit 2, Building Aa                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rio Grande City                        TX       78582           Services Rendered

Date or dates debt was incurred      01/2016 - 01/2019          Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
                  Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 32 of 43

Debtor        Sunglo Home Health Services, Inc.                                            Case number (if known)

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Internal Revenue Service                                              Line     2.1
         Centralized Insolvency Operation                                             Not listed. Explain:
         P.O. Box 7346


         Philadelphia                  PA      19101-7346


4.2      Office of Attorney General-BK & Collect                               Line    3.22
         P.O. Box 12548, MC-008                                                       Not listed. Explain:




         Austin                        TX      78711




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9
                 Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 33 of 43

Debtor      Sunglo Home Health Services, Inc.                                 Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                $215,300.00

5b. Total claims from Part 2                                                              5b.   +            $462,275.40


5c. Total of Parts 1 and 2                                                                5c.                $677,575.40
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 10
                       Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 34 of 43


 Fill in this information to identify the case:


 Debtor Name Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                            Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                   $476,699.48
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                     $476,699.48
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $863,235.53

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                     $215,300.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $462,275.40
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F...................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................ $1,540,810.93




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                 Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 35 of 43


 Fill in this information to identify the case and this filing:
 Debtor Name         Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 02/14/2019                       X /s/ Linda Salazar
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Linda Salazar
                                                             Printed name
                                                             Vice President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
                         Case 19-10061 Document 1 Filed in TXSB on 02/14/19 Page 36 of 43


B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                BROWNSVILLE DIVISION
In re Sunglo Home Health Services, Inc.                                                                                             Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                           Hourly: Estimated Total                            $45,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $20,000.00
     Balance Due..............................................................................................................................................................
                                                                                              Hourly: Approximately                            $25,000.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    02/14/2019                        /s/ Jana Smith Whitworth
                       Date                           Jana Smith Whitworth                       Bar No. 00797453
                                                      JS Whitworth Law Firm, PLLC
                                                      112 E. Kiwi Street
                                                      McAllen, Texas 78504
                                                      Phone: (956) 371-1933 / Fax: (956) 265-1753




    /s/ Linda Salazar
   Linda Salazar
   Vice President
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 Fill in this information to identify the case:
 Debtor name         Sunglo Home Health Services, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction        Unsecured
                                                                                             claim, if       for value        claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Internal Revenue Service                           941 Taxes                               $687,000.00            $0.00     $687,000.00
    300 E. 8th Street - M/S
    5026 AUS
    Austin, TX 78701



2   Internal Revenue Service                           IRS Healthcare                                                           $215,300.00
    300 E. 8th Street - M/S                            Insurance
    5026 AUS                                           Tax/Penalty
    Austin, TX 78701



3   McKesson Information                               Services Rendered                                                        $110,947.07
    Solutions
    P.O. Box 98347
    Chicago, IL 60693



4   Frost Bank                                         Promissory Note                                                          $106,879.00
    P.O. Box 34746
    San Antonio, Texas
    78265



5   Veronica's Physical                                Services Rendered                                                          $89,155.00
    Therapy Services, PL
    5346 E. Hwy 83 - Unit 2,
    Building Aa
    Rio Grande City, TX
    78582




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
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Debtor       Sunglo Home Health Services, Inc.                                     Case number (if known)
             Name


 Name of creditor and            Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor              professional          unliquidated,   secured, fill in total claim amount and
                                 contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction        Unsecured
                                                                                             claim, if       for value        claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
6   Valley Healing Hands,                              Services Rendered     Unliquidated                                         $67,622.50
    LLC                                                                      Disputed
    3475 W. Alton Gloor,
    Suite D
    Brownsville, Texas
    78520
7   L.R. Pelly, M.D.                                   Services Rendered                                                          $27,079.00
    34 Robins Lane
    Brownsville, Texas
    78521



8   Harlingen Tax Office                               Ad Valorem Taxes                         $11,816.49            $0.00       $11,816.49
    P.O. Box 2643
    Harlingen, Texas 78551




9   Amerifactors                                       Services Rendered                                                          $10,490.00
    P.O. Box 628328
    Orlando, FL 32862




10 Beta Therapy                                        Services Rendered                                                          $10,200.00
   Management Inc.
   1287 Janet Lane
   Brownsville, Texas
   78526

11 Therapy at Home, PLLC                               Services Rendered                                                           $5,354.00
   2418 Buddy Owens
   Boulevard
   McAllen, Texas 78504



12 Texas Workforce                                     Taxes                                                                       $5,263.74
   Commission
   101 E. 15th Street, Room
   556
   Austin, Texas 78778

13 The Lamar Companies                                 Services Rendered                                                           $4,698.00
   2001 Industrial Way
   San Benito, Texas 78586




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       Sunglo Home Health Services, Inc.                                   Case number (if known)
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor              professional          unliquidated,   secured, fill in total claim amount and
                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total            Deduction       Unsecured
                                                                                           claim, if        for value       claim
                                                                                           partially        of
                                                                                           secured          collateral
                                                                                                            or setoff
14 Medline Ind                                       Services Rendered                                                           $4,650.43
   P.O. Box 121080
   Dallas, Texas 75312




15 Mario L. Vasquez                                  Services Rendered                                                           $3,000.00
   Aguilar, PLLC
   2768 Pharmacy Road
   Rio Grande City, Texas
   78582

16 AllScripts                                        Goods Sold                                                                  $2,878.20
   24630 Network Place
   Chicago, IL 60673




17 Tony Yzaguirre, Jr.                               Ad Valorem Taxes                           $2,630.99           $0.00        $2,630.99
   Cameron County Tax
   Assessor-Collector
   835 E. Levee Street
   Brownsville, Texas
   78520
18 Ability Network, Inc.                             Services Rendered                                                           $2,579.09
   P.O. Box 856015
   Mineapolis, MN 55485-
   6015



19 Time Warner Cable                                 Services Rendered                                                           $2,454.95
   P.O. 60074
   City of Industry, CA
   91716



20 Capital One, F.S.B.                               Services Rendered                                                           $2,379.61
   P.O. Box 60599
   City of Industry, CA
   91716




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                 BROWNSVILLE DIVISION
    IN RE:                                                                         CHAPTER       11
    Sunglo Home Health Services, Inc.



    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Linda Salazar                                                     Shareholder                50%                        Owner
 2502 Emerald Lake Drive
 Harlingen, Texas 78550

 Ruben G. Salazar                                                  Shareholder                50%                        Owner
 2502 Emerald Lake Drive
 Harlingen, Texas 78550

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                     Vice President                        of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       2/14/2019
Date:__________________________________                            /s/ Linda Salazar
                                                        Signature:________________________________________________________
                                                                   Linda Salazar
                                                                   Vice President
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Ability Network, Inc.            Capital One, F.S.B.              Linda Salazar
P.O. Box 856015                  P.O. Box 60599                   2502 Emerald Lake Drive
Mineapolis, MN 55485-6015        City of Industry, CA     91716   Harlingen, Texas 78550



AllScripts                       EFB Partners, LLC                Linebarger Goggan Blair &
24630 Network Place              8200 N.W. 52nd Terrace, Suite    Sampson, LLP
Chicago, IL 60673                200                              Attn: Diane W. Sanders
                                 Doral, GL 33166                  P.O. Box 17428
                                                                  Austin, TExas 78760

Ally Bank                        Ford Motor Credit Company, LLC   Lone Star National Bank
c/o Ally Servicing LLC           P.O. Box 62180                   Attn: Loan Servicing
P.O. Box 130424                  Colorado Springs, CO 80962       McAllen, TX 78504
Roseville, MN 55113-0004


Amerifactors                     Frost Bank                       Mario L. Vasquez Aguilar, PLLC
P.O. Box 628328                  P.O. Box 34746                   2768 Pharmacy Road
Orlando, FL 32862                San Antonio, Texas 78265         Rio Grande City, Texas 78582



BBVA Compass Bank                Harlingen Tax Office             McKesson Information Solutions
P.O. Box10566                    P.O. Box 2643                    P.O. Box 98347
Birmingham, AL 35296             Harlingen, Texas 78551           Chicago, IL 60693



BBVA Compass Bank                Internal Revenue Service         Medline Ind
aat: Kyle M. Taylor, VP ARMS     300 E. 8th Street - M/S 5026     P.O. Box 121080
Division                         AUS                              Dallas, Texas 75312
6333 Douglas Avenue, 2nd Floor   Austin, TX 78701
Dallas, Texas 75225

Beta Therapy Management Inc.     Internal Revenue Service         Noe Reyes
1287 Janet Lane                  Centralized Insolvency           1108 N. 35th Street
Brownsville, Texas 78526         Operation                        Hidalgo, Texas 78557
                                 P.O. Box 7346
                                 Philadelphia, PA 19101-7346

Bill D. Pope & Maria Del         Knight Capital Funding III LLC   Office of Attorney General-BK
Rosario Pope                     - SPV                            & Collect
P.O. Box 116                     9 East Loockerman Ste 3A-543     P.O. Box 12548, MC-008
Rio Grande City, Texas 78582     Dover, DE 19901                  Austin, Texas 78711


Brandi Whitemeyerr, RN           L.R. Pelly, M.D.                 Providenia Holdings, LLC
421 Hower Street NE              34 Robins Lane                   920 W. Van Buren Avenue
North Canton, OH 44720           Brownsville, Texas 78521         Harlingen, TX 78550



Brewer Office Systems            Liberty DME                      Purchase Power
405 West Van BUren               1708 Mozelle Street              P.O. Box 371874
Harlingen, Texas 78550           Pharr, Texas 78577               Pittsburgh, PA 15250
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Ruben G. Salazar                Valley Healing Hands, LLC
2502 Emerald Lake Drive         3475 W. Alton Gloor, Suite D
Harlingen, Texas 78550          Brownsville, Texas 78520



Shred-It San Antonio            Veronica's Physical Therapy
28883 Network Place             Services, PL
Chicago, IL 60673               5346 E. Hwy 83 - Unit 2,
                                Building Aa
                                Rio Grande City, TX 78582

Strategic Healthcare Programs
P.O. Box 101019
Atlanta, GA 30392



Terminix - Weslaco
802 Westway Drive
Harlingen, Texas 78552



Texas Workforce Commission
101 E. 15th Street, Room 556
Austin, Texas 78778



The Lamar Companies
2001 Industrial Way
San Benito, Texas 78586



Therapy at Home, PLLC
2418 Buddy Owens Boulevard
McAllen, Texas 78504



Time Warner Cable
P.O. 60074
City of Industry, CA 91716



Tony Yzaguirre, Jr.
Cameron County Tax Assessor-
Collector
835 E. Levee Street
Brownsville, Texas 78520

Toyota Motor Credit
Corporation
c/o Toyota Financial Services
P.O. Box 5855
Carol Stream, IL 60197
